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Bystander Report: Court Appearance for Gwen on March 6, 2019 by Raymond A. Boldt

I was at the Bench after the Court issued its Rulings, as to Gwen Ervin and my Motion to
Withdraw. J also had a Motion to Continue Hearing on behalf of Gwen Barlow set before Judge
Seneczko.

When all of said matters had concluded, Judge Seneczko was asked by Jonathan Steele, about
reissuing the Body Writ of Attachment against Raymond N. Ervin which had expired (more than
one (1) year). Jonathan Steele admitted to Judge Seneczko, that he was not in Court on the
expiration date of the Body Writ: February 19, 2019. Jonathan Steele further admitted to the
Court, that he did not file any Motion with the Court to reissue, or extend the date of the Body
Writ prior to the March 6, 2019 Court Date. Both acknowledging at the Bench, that a Body Writ
is only valid or enforceable for a one (1) year period of time, pursuant to Statute. Jonathan Steele
admitted that he had not provided any Notice to Raymond N. Ervin , or any other Party or
Counsel of his oral request before the Court, to either reissue or extend the date of the Body Writ
of Attachment. Raymond A. Boldt was told, that the Court would not entertain any statements
from Raymond A. Boldt, as to the action on the Body Writ requested by Jonathan Steele, in as
much as Raymond A. Boldt did not represent Raymond Ervin at the time, and has not
represented Raymond N. Ervin for some time, therefore would not be permitted to comment.

Mr. Steele admitted to Judge Seneczko, that he probably should file a written Motion with the
appropriate Notice of Motion to either reissue, or extend the date of the Body Writ of
Attachment, and that he had not done so, and that Mr. Steele was asking the Court to consider
the Oral Motion to reissue the Body Writ of Attachment.

Whereupon, Judge Seneczko made a comment that that she was unsure as to whether, or not a
written Motion and Notice of Motion was required to either reissue, or extend the date of the
Body Writ of Attachment. Judge Seneczko was unsure as to whether, or not the Statute required
the Court to have a written Motion and Notice, or perhaps the party seeking the extension of the
Body Writ should be required to file a written Motion and Notice of Motion with the Court, and
provide appropriate time to the opposing party for the Hearing on the Motion.

Judge Seneczko then stated that she would be leaving the Bench to check the law, as to whether
or not a written Motion and Notice of the same was required, as to the expired Body Writ of
Attachment. There was no question, that Judge Seneczko, and Jonathan Steele knew that the
Body Writ of Attachment had expired. There was no question, that all of said parties knew that
no one appeared in Court on the date set for expiration of the prior Body Writ of Attachment
issued for Raymond N. Ervin. No party had filed any written request, or Notice whatsoever with
the Court, as to a possible extension of the Body Writ of Attachment, and Raymond N. Ervin
was unaware of the Oral Request before the Court.

Judge Seneczko returned to the Bench, after approximately five (5) minutes, and simply stated
that she would grant the oral Motion of Jonathan Steele. No justification was given. No
statement that the appropriate Statute was checked, no statement, as to whether Case Law
[ 2rmitted the same, or anything resembling a reason for reissuing or extending the Body Writ of
Attachment, without any type or kind of Notice and Motion to Raymond N. Ervin, or any other
parties involved.
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Raymond A. Boldt remarked to Jonathan Steele, that he believed that Notice and Motion should
have been provided, as to the request for a new, or Alias Body Writ, that it was, in Raymond A.
Boldt’s opinion inappropriate to reissue or extend a Body Writ without prior Notice to the
opposing party, or any other of the parties involved and that since Raymond A. Boldt was no
longer Counsel to Raymond N. Ervin, there was no procedural due process to Raymond N.
Ervin.

 

SUBSCRIBED & SWORN TO before me

 

 

this Pe 3 day of , 2019.
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Notary Public V .
$ (OFFICIAL SEAL
$  ROCHELLELKUERSTEN |
$ NOTARY PUBLIC-STATE OF ILLINOIS
3 MY COMMISSION EXPIRES:04/17/22  §

 

 

 

Prepared by:

RAYMOND A. BOLDT

209 E. Park Street

Mundelein, IL 60060

Tele. No.:(847) 566-3410 Fax No.:(847) 566-3413

E-mail: raymondboldt@att.net
ARDC #:03124053
